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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  CARLOS CUJI, on behalf of himself, FLSA
  Collective Plaintiffs and the Class,

                                    Plaintiff,
                                                 Case No. 1:20-cv-05594 (DCF)
                     -against-

  SISTINA RESTAURANT INC d/b/a SISTINA,
  CARAVAGGIO, INC. d/b/a CARAVAGGIO,
  GUIESEPPE BRUNO, and GERARD BRUNO,

                                  Defendants.




   MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT CARAVAGGIO’S
 MOTION TO DISMISS PLAINTIFF’S COMPLAINT PURSUANT TO RULE 12(B)(6)
            OF THE FEDERAL RULES OF CIVIL PROCEDURE




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        Defendant Caravaggio, Inc. (“Moving Defendant” or “Caravaggio”) submits this

Memorandum of Law in Support of its Motion to Dismiss Plaintiff Carlos Cuji’s (“Plaintiff”)

Complaint (“Complaint”) pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.1

                                    PRELIMINARY STATEMENT

        Caravaggio moves to dismiss the Complaint because Plaintiff fails to state a claim against

it under either the Fair Labor Standards Act (“FLSA”) or the New York Labor Law (“NYLL”).

Plaintiff has asserted claims against, but was not employed by, Caravaggio. The Complaint states

that “[a]lthough Plaintiff Carlos Cuji did not work at both [Defendant Caravaggio and Defendant

Sistina], the Restaurants are appropriately named in this Complaint through the relevant Corporate

Defendants...” The Complaint plainly acknowledges that Plaintiff never worked for Caravaggio.

Instead, Plaintiff sets forth mere boilerplate resuscitations of the applicable legal standard and

conclusory allegations about the supposed connection between Moving Defendant and Defendant

Sistina. The Complaint does not plead facts sufficient to render plausible that Caravaggio

exercised any formal or functional control over Plaintiff whatsoever. Such factually barren

allegations do not satisfy the Iqbal/Twombly pleading standard. As a result, Plaintiff’s FLSA and

NYLL claims against Caravaggio merit dismissal.

                                   SUMMARY OF ALLEGATIONS

        Plaintiff brings this putative class and collective action against Caravaggio, his employer

Sistina Restaurant and two individuals he alleges were interconnected as a joint enterprise.2




1
 A copy of Plaintiff’s Complaint dated July 20, 2020 is attached as Exhibit A to the Declaration of Adam S. Gross,
Esq. (“Gross Dec.”) in Support of the Moving Defendant’s Motion to Dismiss Plaintiff’s Complaint.

2
 The undersigned counsel represents only Caravaggio and Defendants Sistina Restaurant Inc. (“Defendant Sistina”
or “Sistina”) and Giuseppe Bruno.


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Compl. ¶¶ 6-7, 1-2, 6 [sic].3 During the relevant period, Plaintiff was employed by Sistina as a

dishwasher. Compl. ¶18. Plaintiff admits that he did not work at Caravaggio. Compl. ¶ 6 [sic].

Yet Plaintiff still alleges in boilerplate fashion that Caravaggio, as well as the other named

corporate and individual defendants, were his employer under the FLSA and NYLL and violated

these statutes by allegedly: (i) failing to pay Plaintiff the statutory minimum wage under the FLSA

and NYLL; (ii) failing to pay Plaintiff overtime under the FLSA and NYLL; (iii) failing to comply

with meal credit provisions of the FLSA and NYLL; (iv) failing to provide Plaintiff with required

wage notices and statements under NYLL Section 195; and (v) failing to pay spread of hours under

the NYLL. Id. ¶¶ 1-2 [sic] 33-53. As noted above, Plaintiff’s allegations related to Caravaggio’s

involvement in his employment are devoid of any factual detail about the relationship between

Caravaggio and Plaintiff – as Plaintiff freely admits, no such relationship exists.

                                             LEGAL STANDARD

           To survive a Rule 12(b)(6) motion to dismiss, “the plaintiff must provide the grounds upon

which [his] claim rests through factual allegations sufficient ‘to raise a right to relief above the

speculative level.’” ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). In other words, the complaint

must allege “enough facts to state a claim to relief that is plausible on its face.” Starr v. Sony BMG

Music Entm’t, 592 F.3d 314, 321 (2d Cir. 2010) (quoting Twombly, 550 U.S. at 570); see also

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (same).

           “Under Federal Rule of Civil Procedure 8(a)(2), a ‘plausible’ claim contains ‘factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.’” Lundy v. Catholic Health Sys. of Long Island, Inc., 711 F.3d 106, 114 (2d


3
    Plaintiff’s Complaint incorrectly numbers the paragraphs and uses numbers 1-8 two times.


                                                          2
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Cir. 2013) (quoting Iqbal, 556 U.S. at 678). “[A] plaintiff’s obligation to provide the grounds of

his entitlement to relief requires more than labels and conclusions, and a formulaic recitation of

the elements of a cause of action will not do.” Twombly, 550 U.S. at 555. Rather, the factual

allegations must “possess enough heft to show that the pleader is entitled to relief.” Id. at 557.

Thus, unless a plaintiff’s well-pleaded allegations have “nudged [his] claims across the line from

conceivable to plausible, [the plaintiff’s] complaint must be dismissed.” Id. at 570; see Iqbal, 556

U.S. at 680. As this Court has observed, “a court is ‘not bound to accept as true a legal conclusion

couched as a factual allegation.’” Baez v. New York, 56 F. Supp. 3d 456, 466 (S.D.N.Y. 2014)

(quoting Twombly, 550 U.S. at 544) (dismissing discrimination claims for failure to plead facts

sufficient to raise an inference that the reason Plaintiff was not promoted was her national origin).


                                               ARGUMENT

I.      PLAINTIFF’S COMPLAINT FAILS TO ALLEGE FACTS SUFFICIENT TO
        STATE A CLAIM AGAINST CARAVAGGIO UNDER THE FLSA OR NYLL4

         A.      Employer Standard under the FLSA and NYLL

        To be held liable under the FLSA, a person, or entity must be considered an “employer.”

29 U.S.C. § 203(d). An entity or individual “employs” an individual if it “suffer[s] or permit[s]”

that individual to work. 29 U.S.C. § 203(g). “[T]he determination of whether an employer-

employee relationship exists for purposes of the FLSA [is] grounded in economic reality rather

than technical concepts.” Irizarry v. Catsimatidis, 722 F.3d 99, 104 (2d Cir. 2013) (quotation

marks omitted); see also Lopez v. Acme Am. Envtl. Co., No. 12 Civ. 511 (WHP), 2012 U.S. Dist.

LEXIS 173290 at *3 (S.D.N.Y. Dec. 6, 2012). The relevant factors that dictate whether the


4
  The entirety of this section applies equally to Plaintiff’s claims under the FLSA and NYLL. See Xue Lian Lin v.
Comprehensive Health Mgmt., 08 CV 6519 (PKC), 2009 U.S. Dist. LEXIS 29779, at *5-6 (S.D.N.Y. Apr. 8, 2009)
(finding that the analysis of whether a defendant constitutes an employer is the “same” under both the FLSA and
NYLL).


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economic reality test is satisfied, and therefore whether an employment relationship exists under

the FLSA, include “whether the alleged employer (1) had the power to hire and fire the employees,

(2) supervised and controlled employee work schedules or conditions of employment, (3)

determined the rate and method of payment, and (4) maintained employment records.” Irizarry,

722 F.3d at 104-05 (quoting Barfield v. New York City Health & Hosps. Corp., 537 F.3d 132, 142

(2d Cir. 2008)); see also Lian Lin, 2009 U.S. Dist. LEXIS 29779, at *7 (failure to “allege any facts

regarding the positions held by the Individual Defendants or their power to control plaintiffs’

hours, wages, or other terms and conditions of employment” required dismissal of FLSA claims

against such individual defendants). These factors help determine whether an entity exercised

formal control over an employee.

        The economic reality test is useful because “when an entity exercises those four

prerogatives, that entity, in addition to any primary employer, must be considered a joint

employer.” Zheng v. Liberty Apparel Co., 355 F.3d 61, 67 (2d Cir. 2003). Alternatively, an entity

may functionally control workers even when it does not formally control them. See Zheng, 355

F.3d at 67 (2d Cir. 2003). The Second Circuit analyzes functional control through a six-part test:

“(1) whether [Defendant’s] premises and equipment were used for the plaintiffs’ work; (2) whether

[Defendant] had a business that could or did shift as a unit from one putative joint employer to

another; (3) the extent to which plaintiffs performed a discrete line-job that was integral to

[Defendant’s] process of production; (4) whether responsibility under the contracts could pass

from one subcontractor to another without material changes; (5) the degree to which the []

Defendant[] or their agents supervised plaintiffs’ work; and (6) whether plaintiffs worked

exclusively or predominantly for the [] Defendant[].” Id.5 The formal and functional tests for


5
 The Moving Defendant notes that the functional Zheng test was developed to address the scenario – common in the
pieceworker industry and dating back decades – where a dominant client functionally controlled the operations of a

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employment are non-exhaustive and not “rigid rule[s].” Barfield v. N.Y.C. Health and Hosps.

Corp., 537 F.3d 132, 143 (2d Cir. 2008).

         Courts in this District have repeatedly recognized that “companies that are part of an

‘integrated enterprise’ or ‘engaged in a joint venture’ may nevertheless employ separate people

and, absent control, are not liable for the separate employees of joint ventures.” Lopez, 2012 U.S.

Dist. LEXIS 173290, at *4 (emphasis added) (citing Cannon v. Douglas Elliman, LLC, No. 06 Civ

7092 (NRB), 2007 U.S. Dist. LEXIS 91139, at *10-11 (S.D.N.Y. Dec. 10, 2007)); see, e.g.,

Wolman v. Catholic Health, 853 F. Supp. 2d 290, 298 (E.D.N.Y. 2012) (holding that allegations

“which perhaps establish[] some general commonalities between Defendants” do not establish

control so that joint employment is adequately plead); Sampson v. MediSys Health Network, Inc.,

No. 10 Civ. 1342, 2012 U.S. Dist. LEXIS 103052, at *12 (E.D.N.Y. July 24, 2012) (holding that

although plaintiffs’ allegations “may suggest some kind of affiliation among the defendants,” they

could not allege a joint employer relationship); Diaz v. Consortium for Worker Educ., Inc., No. 10

Civ. 08148 (LAP), 2010 U.S. Dist. LEXIS 107722, at *10 (S.D.N.Y. 2010) (holding that allegation

which “only shows that defendants shared a common goal” is insufficient to qualify defendants as

joint employers).

          B.      Plaintiff Does Not Allege Facts To Support A Finding That Caravaggio is His
                  Employer

         Plaintiff seeks to improperly expand the scope of this action by claiming Caravaggio was

his employer despite admitting he never worked for Caravaggio and failing to articulate with

particularity any facts relating to Caravaggio’s operations. The case law within this district is clear




subcontractor. Such a scenario is not present here; Plaintiff was employed by Sistina to work at its restaurant. Plaintiff
concedes that he never worked at Caravaggio and does not allege any specific facts about Caravaggio’s operations.


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that boilerplate, conclusory allegations about a restaurant where an employee never worked do not

constitute sufficient evidence of an employment relationship at the motion to dismiss stage.

       For example, in Lopez v. Acme Am. Envtl., plaintiffs sought unpaid overtime wages from

several corporate defendants pursuant to the FLSA and NYLL. Plaintiffs alleged that all of the

corporate defendants (1) were under common control, (2) operated from a single facility and shared

key employees, including a bookkeeper, an accountant, and a general manager, and (3) shared a

common clientele and worked for the common purpose of providing a full range of services to

companies with commercial kitchens. 2012 U.S. Dist. LEXIS 173290, at *10. In granting a

motion to dismiss the corporate entities, the court found that “[a]lthough they allege an ‘integrated

enterprise,’ Plaintiffs cannot escape their obligation under the FLSA to allege a relationship of

control between the Corporate Moving Defendants and themselves.” Id. at *11 (emphasis added).

Because the plaintiffs did not allege any particularized facts which demonstrated that the

“economic reality” of the relationship between the plaintiffs and the corporate defendants was one

of control, the Court held that plaintiffs did not state an FLSA claim against the corporate

defendants and dismissed the complaint as asserted against them. Id. at *12-14. The Court also

found plaintiffs’ allegations insufficient to establish that the affiliated corporate defendants

exercised functional control over the plaintiffs. Id. For instance, the Lopez plaintiffs did not allege

that any of the corporate defendants supervised or controlled their work schedules, or facts

indicating functional control under the Second Circuit’s six-part Zheng test described above.

       Similarly, in Santana v. Fishlegs, LLC, the plaintiffs claimed unpaid wages and overtime

against seven corporate restaurant defendants, five of which never employed them. No. 13 Civ

01628 (LGS), 2013 U.S. Dist. LEXIS 159530 (S.D.N.Y. Nov. 7, 2013). Nonetheless, the plaintiffs

alleged the seven corporate defendants were a single integrated enterprise with shared ownership,



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operations, marketing, recruiting, employment methods and human resources personnel. Id. at

*12. Despite these allegations, the Court dismissed the five corporate defendants that never

employed the plaintiffs, finding the single integrated enterprise doctrine inapplicable based on

insufficient pleadings. Id.

       Plaintiff’s allegations against Caravaggio, in their entirety, are the same cosmetic and

conclusory allegations found insufficient in Lopez and Santana. Plaintiff concedes that he

exclusively worked for Sistina. Compl. ¶6 [sic]. He does not include a single particularized fact

about Caravaggio’s operations or any nexus between his employment and Caravaggio. Instead,

Plaintiff’s allegations regarding Caravaggio consist of the following:

       •   “Defendants operate the below restaurants as a single integrated enterprise under the
           trade names ‘Sistina’ and Caravaggio’...” Compl. ¶ 6 [sic];
       •   “The Restaurants are operated by Defendants as a single integrated enterprise. The
           restaurants are commonly owned by the Individual Defendants and are advertised on
           the         following       websites:         http://caravaggioristorante.com/:         and
           http://sistinany.com/contact/. Compl. ¶ 7 [sic];
       •   “Specifically the Restaurants are engaged in related activities, share common
           ownership and have a common business purpose: a. As both are Italian Food
           Restaurants, supplies are interchangeable among the Restaurant locations; b.
           Employees are interchangeable among the Restaurant locations, and in fact employees
           are frequently interchanged. c. The Restaurants advertise for each other on the internet.
           Both websites, refer to the other restaurant as their ‘sister restaurant.’ d. Despite being
           a very short walking distance from the other, the restaurant’s [sic] market and advertise
           for its supposed competitor. e. The Restaurants share a common ownership and
           management team. The Restaurants are both owned and managed by the Individual
           Defendants.” Compl. ¶ 7 [sic];
       •   “At all relevant times, each of the Corporate Defendants was and continues to be an
           “enterprise engaged in commerce” within the meaning of the FLSA, NYLL and
           regulations thereunder.” Compl. ¶ 4 [sic];
       •   “Although Plaintiff Carlos Cuji did not work at both of the Restaurants, the Restaurants
           are appropriately named in this Complaint through the relevant Corporate Defendants
           described above. Because the Restaurants share identical illegal wage and hour
           policies, the Restaurants and the relevant Corporate Defendants are properly named on
           the basis of their outstanding liability to the Class Members for whom Plaintiff Carlos
           Cuji seeks to represent.” Compl. ¶ 6 [sic];
       •   “On or around May 2018, Plaintiff Carlos Cuji was hired by Defendants to work as a
           dishwasher for Defendants’ Sistina Restaurant located at 24 East 81st Street, New York,


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           NY 10028, where he worked for the remainder for his employment by Defendants.
           Plaintiff’s employment with Defendants terminated on January 2, 2020. Compl. ¶ 18.

       Here, as in Lopez and Santana, although Plaintiff alleges that all Defendants—including

Caravaggio—are joint employers, he fails to plead, as he must under the FLSA and NYLL,

sufficient particularized facts which show a relationship of control between Caravaggio and

himself. The “fundamental” question is whether each Defendant had the ability to control

Plaintiff’s employment. See Lopez, 2012 U.S. Dist. LEXIS 173290, at *11 (“[A]llegations of

common ownership and common purpose, without more, do not answer the fundamental question

of whether each corporate entity controlled Plaintiffs as employees.”); Sampson, 2012 U.S. Dist.

LEXIS 103052, at *12 (dismissing FLSA claims against those defendants which plaintiffs failed

to allege “had any direct role in hiring or firing the plaintiffs . . . supervised or controlled their

work schedules . . . [or] had any direct role in controlling the plaintiffs’ conditions of employment

or determining their rate and method of payment”); Diaz, 2010 U.S. Dist. LEXIS 107722, at *10

(dismissing FLSA claims against defendants because “[t]he complaint contains no facts that

indicate that [the defendant] had any direct role in managing the plaintiffs, hiring or firing the

plaintiffs, determining their working hours, or maintaining employment records” to demonstrate

that defendants were plaintiffs’ employer).

       Plaintiff does not set forth a single factual allegation which even suggests that Caravaggio

exercised control over the terms and conditions of his employment. Plaintiff freely admits that he

never worked for Caravaggio. Beyond that, he does not claim with particularity that Caravaggio

hired or fired him, supervised and controlled his work schedule, determined his rate and method

of payment, or maintained his employment records. Plaintiff merely asserts that “Plaintiff… was

hired by Defendants to work as a dishwasher for Defendants’ Sistina Restaurant…” and seeks to




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bolster this threadbare allegation by making boilerplate conclusory allegations that regurgitate the

legal standard under the law. See e.g., Compl. ¶ 18.

         The instant allegations are thus distinguishable from this Court’s decision in Juarez v. 449

Rest., Inc., 29 F. Supp. 3d 363, 367-368 (S.D.N.Y. 2014), where plaintiff’s “cosmetic” allegations

of integrated or joint operations (such as those outlined above) were simply backdrop for his core

allegation: that he himself performed work at the three Moonstruck Diner locations in question, a

bona fide factual allegation tending to show centralized labor policy. There are no such allegations

in this case.

         Instead, Plaintiff asserts that “employees are interchangeable among the Restaurant

locations, and in fact employees are frequently interchanged” but gives no examples of this ever

occurring and does not allege that he ever worked even one shift for Caravaggio. See Compl. ¶ 7

[sic]. Likewise, Plaintiff assumes, without providing any particularized facts, that because Sistina

and Caravaggio both serve Italian cuisine they must share a common business purpose.

         Further, Plaintiff’s allegation that Sistina’s and Caravaggio’s websites call the other

restaurant their “sister restaurant” is inaccurate, as no such language exists on either restaurant’s

website.6 Gross Dec. ¶ 3. Indeed, there is not a single reference to Caravaggio on the Sistina

website, and the inverse is true as well. Gross Dec. ¶ 4. Thus, Plaintiff’s conclusory factual

allegations—while insufficient to establish an employment relationship between Plaintiff and

Caravaggio anyway—are patently not true.



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  Barberan v. Nationpoint, 706 F. Supp. 2d 408, 414 (S.D.N.Y. 2010) “Generally, [i]n adjudicating a Rule 12(b)(6)
motion, a district court must confine its consideration to facts stated on the face of the complaint, in documents
appended to the complaint or incorporated in the complaint by reference, and to matters of which judicial notice maybe
taken.” (internal citations omitted); Doron Precision Sys., Inc. v. FAAC, Inc., 423 F. Supp. 2d 173, 179 n.8 (S.D.N.Y.
2006) (“For purposes of a 12(b)(6) motion to dismiss, a court may take judicial notice of information publicly
announced on a party's website, as long as the website's authenticity is not in dispute and ‘it is capable of accurate and
ready determination.” (quoting Fed. R. Evid. 201(b)).


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       Plaintiff has also failed to plead, as he must under the FLSA, sufficient, particularized facts

which show any functional relationship between Caravaggio and himself. See Lopez, 2012 U.S.

Dist. LEXIS 173290, at *12 (complaint allegations alleging defendants shared a common

bookkeeper, accountant, and general manager, absent more, was insufficient to state a cause of

action under the FLSA against other entities that did not employ Plaintiffs); Santana, 2013 U.S.

Dist. LEXIS 159530, at *23 (complaint allegations alleging corporate defendants shared

ownership, operating, marketing, recruiting, employment methods and human resources, without

more, could not state a cause of action under the FLSA against other entities that did not employ

Plaintiffs). Plaintiff’s Complaint does not assert even one allegation that Caravaggio had any

control over his employment or that he knows any information about how it is operated or its

policies or procedures.

       Plaintiff’s conclusory allegations relating to purported common ownership are inadequate

to survive dismissal at the pleading stage. Merely reciting the elements of a joint employer

arrangement—which is what plaintiff does here—is insufficient to plausibly allege joint employer

status. Cannon, 2007 U.S. Dist. LEXIS 91139, at *12. That is because, even if Caravaggio and

Sistina are “part of an ‘integrated enterprise’ or ‘engaged in a joint venture,’” they “may

nevertheless employ separate people and, absent control, are not liable for the separate employees

of joint ventures.” Lopez, 2012 U.S. Dist. LEXIS 173290, at *11; see also Santana, 2013 U.S.

Dist. LEXIS 159530, at *23.

       Put simply, Plaintiff’s Complaint lacks the necessary factual allegations that plausibly link

his employment to Caravaggio. Instead, Plaintiff only offers boilerplate allegations under the

FLSA and NYLL directed to “Defendants” generally, which do not connect him to any Defendant




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other than Sistina. See generally Compl. ¶¶ 6-7 [sic], 6 [sic], 18-53. Thus, Caravaggio–a separate

entity for which Plaintiff never worked–should be dismissed.

                                            CONCLUSION

        For the foregoing reasons, Caravaggio respectfully requests that Plaintiff’s Complaint be

dismissed against it in its entirety for failure to state a claim.

Dated: New York, New York
       December 18, 2020

                                                         Respectfully submitted,

                                                         JACKSON LEWIS P.C.
                                                         ATTORNEYS FOR DEFENDANTS SISTINA
                                                         RESTAURANT INC., CARAVAGGIO, INC.
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                                                 By: /s Adam S. Gross
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                                                        Godfre O. Blackman, Esq.




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                              CERTIFICATE OF SERVICE

        I hereby certify that on December 18, 2020, the enclosed MEMORANDUM OF LAW
IN SUPPORT OF DEFENDANT CARAVAGGIO’S MOTION TO DISMISS PLAINTIFF’S
COMPLAINT PURSUANT TO RULE 12(B)(6) OF THE FEDERAL RULES OF CIVIL
PROCEDURE was electronically filed with the Clerk of the Court and served in accordance with
the Federal Rules of Civil Procedure, the Southern District’s Local Rules, and the Southern
District’s Rules on Electronic Service, upon the following parties and participants:


                                     C.K. LEE, ESQ.
                             LEE LITIGATION GROUP, PLLC
                              ATTORNEYS FOR PLAINTIFF
                               148 West 24th Street, 8th Floor
                               New York, New York 10011




                                                 /s Adam S. Gross     _____
                                                 Adam S. Gross




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